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In re:

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA

* CASE NO. 11-12742
*

LAURENCE F. GILLIO, JR. *
* SECTION “B”
*

Debtor *

* CHAPTER 7
*
*

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APPLICATION FOR ORDER DIRECTING PAYMENT OF FUNDS

TO CREDITOR/CLAIMANT PURSUANT TO 11 U.S.C. § 347 AND 28 U.S.C. §§ 2041, et. seq.

NOW INTO COURT, comes Jennifer Marie Hendley Gillio, as executrix of the Estate of

Morris Curren, Jr., who respectfully requests as follows:

1. Morris E. Curren, Jr. (“Claimant”) was a creditor of the debtor and was due to receive (and the

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trustee did in fact make) distributions from debtor’s bankruptcy estate to the Claimant in the
amounts of $4,489.07 and $9,744.50, or a total of $14,233.57 (See Exhibit “A”). The Claimant
was not located and the funds of the Claimant were paid into the Court pursuant to 11 U.S.C. §
347.

Claimant died testate on December 23, 2012 (see Exhibit “B”, mailed to the Finance Section).

Jennifer Marie Hendley Gillio is the duly authorized executrix for the Estate of Morris E. Curren,
Jr. (see Exhibit “C”).

I have provided the United States Attorney for the Eastern District of Louisiana with a copy of
this motion.

. I state under penalty of perjury that I am legally entitled to claim these amounts for whom the

unclaimed funds were deposited in this bankruptcy case. I certify that, to the best of my
knowledge, all information and documents are submitted in support of this motion are true and
correct,

Pursuant to 11 U.S.C. § 347 and chapter 129 of Title 28, United States Code, Jennifer Marie
Hendley Gillio, as executrix of the Estate of Morris E. Curren, Jr. requests that the Court issue an
order directing payment to the Claimant and that payment be made in care of the party set forth
below.
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WHEREFORE, Jennifer Marie Hendley Gillio, as executrix of the Estate of Morris E. Curren,

Jr., requests that the Court issue an order directing payment of $4,489.07 and $9,744.50, or a total of
$14, 233.57 held by the Court in this case and for such further and other relief as is just and appropriate.

 

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Pearl River, LA 70452

 

  

 

 

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